Case 4:21-cv-12663-SDK-KGA ECF No. 14-2, PageID.76 Filed 01/17/22 Page 1 of 19
Case 4:21-cv-12663-SDK-KGA ECF No. 14-2, PageID.77 Filed 01/17/22 Page 2 of 19
Case 4:21-cv-12663-SDK-KGA ECF No. 14-2, PageID.78 Filed 01/17/22 Page 3 of 19
Case 4:21-cv-12663-SDK-KGA ECF No. 14-2, PageID.79 Filed 01/17/22 Page 4 of 19
Case 4:21-cv-12663-SDK-KGA ECF No. 14-2, PageID.80 Filed 01/17/22 Page 5 of 19
Case 4:21-cv-12663-SDK-KGA ECF No. 14-2, PageID.81 Filed 01/17/22 Page 6 of 19
Case 4:21-cv-12663-SDK-KGA ECF No. 14-2, PageID.82 Filed 01/17/22 Page 7 of 19
Case 4:21-cv-12663-SDK-KGA ECF No. 14-2, PageID.83 Filed 01/17/22 Page 8 of 19
Case 4:21-cv-12663-SDK-KGA ECF No. 14-2, PageID.84 Filed 01/17/22 Page 9 of 19
Case 4:21-cv-12663-SDK-KGA ECF No. 14-2, PageID.85 Filed 01/17/22 Page 10 of 19
Case 4:21-cv-12663-SDK-KGA ECF No. 14-2, PageID.86 Filed 01/17/22 Page 11 of 19
Case 4:21-cv-12663-SDK-KGA ECF No. 14-2, PageID.87 Filed 01/17/22 Page 12 of 19
Case 4:21-cv-12663-SDK-KGA ECF No. 14-2, PageID.88 Filed 01/17/22 Page 13 of 19
Case 4:21-cv-12663-SDK-KGA ECF No. 14-2, PageID.89 Filed 01/17/22 Page 14 of 19
Case 4:21-cv-12663-SDK-KGA ECF No. 14-2, PageID.90 Filed 01/17/22 Page 15 of 19
Case 4:21-cv-12663-SDK-KGA ECF No. 14-2, PageID.91 Filed 01/17/22 Page 16 of 19
Case 4:21-cv-12663-SDK-KGA ECF No. 14-2, PageID.92 Filed 01/17/22 Page 17 of 19
Case 4:21-cv-12663-SDK-KGA ECF No. 14-2, PageID.93 Filed 01/17/22 Page 18 of 19
Case 4:21-cv-12663-SDK-KGA ECF No. 14-2, PageID.94 Filed 01/17/22 Page 19 of 19
